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Petitionl2C —Rev. 11/14 Se a
UNITED STATES DISTRICT COURT JUL -9 2018
for
Arizona CLE § DISTRICT COURT
NK gissHct OF.ARIZONA
Petition for Warrant nt DEPUTY

Name of Offender: Rocco George Delia Case No.: CR-10-00298-001-TUC-CKJ (JCG)
Name of Judicial Officer: The Honorable Cindy K. Jorgenson - © cS A a rE i

Senior United States District Judge NS be i es Hae cad
Date of Original Sentence: 10/28/2010
Original Offense: Count 1: Possession with Intent to Distribute Marijuana, 21 U.S.C. § 841(a)(1)

and (b)(1)(B)(vii), a Class B Felony
Original Sentence: 60 months Bureau of Prisons, 48 months supervised release
Type of Supervision: Supervised Release Date Supervision Commenced: 3/11/2015

Date Supervision Expires: 3/10/2019

Assistant U.S. Attorney: Robert A. Fellrath - Inactive Defense Attorney: Nathan Donlon Leonardo

520-620-7473 520-314-4125

Petitioning the Court to issue a Warrant.
The probation officer alleges Rocco George Delia has violated the following condition(s) of supervision:
Allegation Nature of Noncompliance
A Mandatory Condition #3 which states, "You must refrain from any unlawful use of a

controlled substance. The use or possession of marijuana, even with a physician's
certification, is not permitted. Unless suspended by the Court, you must submit to one
drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter, as determined by the court."

1) On or about October 2, 2017, Rocco Delia unlawfully used methamphetamine, a
controlled substance. This is evidenced by a positive urinalysis test, a signed admission
form by Rocco Delia, and testimony of the probation officer. Grade C violation. U.S.S.G.
§7B1.1(a)(3)(B).

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RE: Rocco George Delia
Petition to Revoke

July 3, 2018

2) On or about October 13, 2017, Rocco Delia unlawfully used methamphetamine, a
controlled substance. This is evidenced by a positive urinalysis test, a signed admission
form by Rocco Delia, and testimony of the probation officer. Grade C violation. USSG
§7B1.1(a)(3)(B).

B Special Condition #1 which states, "You must participate as instructed by the probation
officer in a program of substance abuse treatment (outpatient and/or inpatient) which
may include testing for substance abuse. You must contribute to the cost of treatment in
an amount to be determined by the probation officer."

On November 20, 2017, February 2, March 9, March 19, May 3, May 8, May 23, and
June 20, 2018, Rocco Delia failed to submit to required urinalysis testing at Behavioral
Systems Southwest. This is evidenced by noncompliance reports and email

communication from Behavioral Systems Southwest. Grade C violation. USSG
§7B1.1(a)(3)(B). Revocation is mandatory pursuant to 18 U.S.C. § 3583(g)(3).

U.S. Probation Officer Recommendation and Justification

Rocco George Delia has violated the trust of the Court. A warrant is recommended as Rocco George Delia will
likely not appear on a summons.

I declare under penalty of law that the foregoing is true and correct to the best of my knowledge:

 

Haylee Campbell Date
U.S. Probation Officer

Office: 602-322-7464

Cell: 602-376-5637

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Loe Lidl 7/3/2018

Jameg D. Gallagher Date
Supervisory U.S. Probation Officer

Office: 602-322-7420

Cell: 520-869-9354
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RE: Rocco George Delia
Petition to Revoke

July 3, 2018

The Court Orders

No Action

Oo

The Issuance of a Warrant
Oo The Issuance of a Summons
Oo

Other

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The Honorable Cindy K. Jorgenson Date
Senior United States District Judge
